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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 BMG RIGHTS MANAGEMENT                )
 (US) LLC, and ROUND HILL             )
 MUSIC LP                             )
                                      )
             Plaintiffs,              )
                                      )
       v.                             )    Case No. 1:14-cv-1611(LO/JFA)
                                      )
 COX COMMUNICATIONS, INC.,            )    REDACTED PUBLIC VERSION
 COXCOM, LLC                          )
          Defendants.                 )
                                      )

     PLAINTIFFS’ MEMORANDUM IN SUPPORT OF ITS MOTION TO EXCLUDE
           THE EXPERT REPORT, OPINION, AND TRIAL TESTIMONY
                   OF COX’S EXPERT JOSEPH KARAGANIS
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           Pursuant to this Court’s scheduling order of August 20, 2015 (Dkt. 234), Federal Rule of

 Evidence 104, and the standard for expert testimony articulated by the Supreme Court in

 Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), Plaintiffs BMG Rights

 Management (US) LLC (“BMG”), and Round Hill Music LP (“Round Hill”) respectfully move

 this Court to exclude the expert report and to disallow the proffered expert testimony of Joseph

 Karaganis.

                                      I.     INTRODUCTION

           Cox’s expert Joseph Karaganis is a self-proclaimed sociologist (Allan Decl., Ex. 1

 Karaganis 8/14/15 Tr. at 17)1 with a degree in comparative literature from Duke University.

 Allan Decl., Ex. 1 Karaganis 8/14/15 Tr. at 10. His dissertation concerned the Argentine author

 Julio Cortázar. Allan Decl., Ex. 1 Karaganis 8/14/15 Tr. at 10-11. He currently is a Vice

 President of the American Assembly whose mission is “to illuminate public policy issues of

 national importance.” Allan Decl., Ex. 1 Karaganis 8/14/15 Tr. at 33. His report and opinions,

 being offered by Cox to rebut the opinions of BMG and Round Hill’s well-known expert

 economist, Dr. William H. Lehr, focuses on three main topics: “[1] the effect of copyright

 infringement on creators and rights holders, [2] Cox Communication’s alleged incentives to

 avoid the termination of repeat infringers, and [3] the role of copyright enforcement from a

 public policy perspective,” including legal “problems of evidence, due process, and

 proportionality.” Allan Decl. Ex. 2 (Karaganis Report) at 2. As set forth in detail below, Dr.

 Karaganis is not qualified to give any opinions on these topics and any opinions Mr. Karaganis

 gives on these topics are unreliable, not based on the facts of this case, and inadmissible as a

 matter of law. Daubert, 509 U.S. at 590; see also Kumho Tire Co. v. Carmichael, 526 U.S. 137,


 1
     October 23, 2015 Declaration of Michael J. Allan
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 151 (1999).

                                    II.      LEGAL STANDARD

        A. The Daubert Standard

        The admissibility of expert testimony in federal court is governed by Federal Rule of

 Evidence 702, as interpreted by the Supreme Court in Daubert. Under Rule 702, when

 scientific, technical or other specialized knowledge will assist the trier of fact in understanding

 the evidence or determining a fact in issue, “[a] witness qualified as an expert by knowledge,

 skill, experience, training or education, may testify in the form of an opinion or otherwise if . . .

 [1] the testimony is based upon sufficient facts or data; [2] the testimony is the product of

 reliable principles and methods; and [3] the witness has applied the principles and methods

 reliably to the facts of the case.” Fed. R. Evid. 702. Rule 702 gives trial courts a “gatekeeping

 responsibility” to ensure that expert opinions presented to a jury are based on an adequate factual

 foundation and are the product of reliable methodology.

        The “starting point” for an evaluation of an expert’s testimony is whether “a person

 qualified may give opinion testimony if such testimony will aid the fact finder ‘to understand the

 evidence or to determine a fact in issue.’” Thomas J. Kline, Inc. v. Lorillard, Inc., 878 F.2d 791,

 799 (4th Cir., 1989). And fundamental to this question is whether the proffered witness

 “possess[es] ‘scientific, technical, or other specialized knowledge’ that would assist the trier of

 fact as required by Rule 702.” Id. at 800 (holding that the district court abused its discretion by

 qualifying as an expert a witness without the relevant education or experience concerning the

 subject of her testimony).

                                          III.   ARGUMENT

        Plaintiffs’ expert, Dr. William Lehr, is a telecommunications and Internet industry



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 economist with over twenty-five years of experience. He holds a PhD in Economics from

 Stanford, an MBA in Finance from the Wharton School, and MSE, BA, and BS degrees from the

 University of Pennsylvania. Allan Decl. Ex. 3 (Lehr Report) §6. He is currently a research

 scientist in the Computer Science and Artificial Intelligence Laboratory (“CSAIL”) at the

 Massachusetts Institute of Technology (“MIT”), where he directs research efforts addressing the

 mix of technical, business economics, and policy challenges associated with the rise of the

 Internet as our global communications infrastructure. Allan Decl. Ex. 3 (Lehr Report) §2. Dr.

 Lehr regularly advises senior industry executives and policymakers in the U.S. and abroad on the

 market and industry implications of events relevant to the Internet ecosystem, including such

 topics relating to digital media. Allan Decl. Ex. 3 (Lehr Report) §1.

        Dr. Lehr offers economic opinions and analysis. Using extensive industry and internal

 Cox data, he calculated average revenue per user (“ARPU”) for Cox and other comparable

 providers, blended bundle ARPU for a Cox subscriber, and the monthly blended bundle

 contribution margin of a Cox subscriber, which he used to estimate the value of a high-speed

 internet subscriber to Cox. Allan Decl. Ex. 3 (Lehr Report) §§ 20, 22-23.

                                                Allan Decl. Ex. 3 (Lehr Report) §26. Dr. Karaganis

 does not dispute, or offer any opinion, on this figure. In fact, he explicitly states that he does

 “not have any specific expertise that would allow [him] to validate or challenge” the calculation

 of profits per customer offered by Dr. Lehr. Allan Decl. Ex. 1 Karaganis 8/14/15 Tr. at 204-205;

 Ex. 2 (Karaganis Report) at 16.

        However, Dr. Karaganis does opine on a number of areas where he has no expertise

 including “[1] the effect of copyright infringement on creators and rights holders, [2] Cox

 Communication’s alleged incentives to avoid the termination of repeat infringers, and [3] the role



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 of copyright enforcement from a public policy perspective,” considering legal “problems of

 evidence, due process, and proportionality.” Allan Decl. Ex. 2 (Karaganis Report) at 2. Because

 Dr. Karaganis is not competent to render any opinion on these issues, his expected testimony

 should be stricken.

    A. Dr. Karaganis Is Not Competent to Render an Opinion on the Economic Effects of
       Copyright Infringement

        Dr. Karaganis is not an economic expert and is completely unqualified to render any

 opinions on the economic effects of piracy for three reasons.

        First, Dr. Karaganis is not an economist and has no degrees in economics. Allan Decl.

 Ex. 1 Karaganis 8/14/15 Tr. at 205. He is a sociologist with an educational background in

 comparative literature. Allan Decl. Ex. 1 Karaganis 8/14/15 Tr. at 10, 14-15; Ex. 2 (Karaganis

 Report) at Appx. A. Nor does he have any experience working, advising, or consulting for the

 music industry, or any involvement with the entertainment business whatsoever. Allan Decl. Ex.

 1 Karaganis 8/14/15 Tr. at 37-38; see Carter v. United States, No. 4:13CV112, 2014 WL

 3895751, at *2 (E.D. Va. Aug. 8, 2014) (citing Oglesby v. Gen. Motors Corp., 190 F.3d 244, 250

 (4th Cir.1999)) (“Expert testimony must be based on the expert's specialized knowledge, and not

 based on mere belief or speculation.”).

        Second, Dr. Karaganis’ only real opinion, that copyright infringement is beneficial to the

 economy, is a pure policy argument which could be used to justify any theft. Specifically, he

 argues that piracy creates an overall benefit for the economy because the “money ‘saved’” by

 persons stealing musical works are purchasing “other things—food, health care, video games,

 and so on—which generate revenue for other industries, create jobs, increase tax receipts, and

 promote innovation.” Report at 8 (emphasis added). This view completely ignores the U.S.

 Constitution, which prohibits copyright infringement, and is not only unreliable, but is also

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 prejudicial. See Apple, Inc. v. Samsung Elecs. Co., No. 11-CV-01846-LHK, 2012 WL 2571332,

 at *6 (N.D. Cal. June 30, 2012) (finding expert’s analysis on apportionment of damages, which

 relied on policy arguments, as unreliable and unduly prejudicial). Indeed, as recognized by the

 U.S. Supreme Court, “deliberate unlawful copying is no less an unlawful taking of property than

 garden-variety theft.” Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 961

 (2005) (Breyer, J., concurring).

         Finally, Dr. Karaganis’s opinion on the effect of copyright infringement is fatally

 defective because it is not tied to a single fact in this case and is therefore irrelevant. Under

 Daubert, a key “aspect of relevancy is whether expert testimony . . . is sufficiently tied to the

 facts of the case that it will aid the jury in resolving a factual dispute.” Daubert, 509 U.S. at 591;

 see Fed. R. Evid. Rule 702(b); Thomas v. Washington Indus. Med. Ctr., No. 98-1652, 1999 WL

 507150, at * 7 (4th Cir. July 19, 1999) (affirming District Court’s decision to exclude opinion

 evidence, where conclusion was based on “no factual foundation . . . making the testimony

 irrelevant”).

         The only data cited in support of Dr. Karaganis’ opinion is a 2009 Dutch study that

 concerned the effects of copyright enforcement in the Netherlands. Allan Decl. Ex. 2 (Karaganis

 Report) at 8. The Netherlands’ market and Dutch behavior is entirely irrelevant to this case. In

 addition, and rather than addressing the effects of piracy on music rights holders, Dr. Karaganis’

 considers and opines upon the software, TV/movie and publishing industries without

 explanation or justification (“Here, the elephant in the room is not music but software…”). See

 e.g. Report at 4, 8-10. Opinions on the effects of copyright infringement to the software,

 TV/movie and publishing industries are not relevant to this case and should not be allowed. See,

 e.g., Daubert, 509 U.S. at 591 (“Expert testimony which does not relate to any issue in the case



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 is not relevant and, ergo, non-helpful.”) (internal citations and quotations omitted); Highland

 Capital Mgmt., L.P. v. Schneider, 379 F. Supp. 2d 461, 473 (S.D.N.Y. 2005) (excluding expert

 testimony irrelevant to parties' claims); United States v. Naegele, 471 F. Supp. 2d 152, 167-169

 (D.D.C. 2007) (admitting expert testimony only if a relevant defense is raised at trial);

        For at least these reasons, Dr. Karaganis is not qualified under Rule 702 as an expert to

 testify regarding the economic loss to the music industry resulting from copyright infringement.

 Dr. Karaganis is not an economist and does not base his opinions on sufficient facts or data. Fed.

 R. Evid. 702(a)-(b), 703. As such, his “economic” opinions should be stricken.

    B. Dr. Karaganis’ Views on the Role of Copyright Enforcement from a Public Policy
       Perspective Are Irrelevant, Inaccurate, and Prejudicial

        Dr. Karaganis’ report then wanders from opining that free music benefits the economy, to

 his personal views on “the role of copyright enforcement.” Again, Dr. Karaganis looks at

 copyright infringement “from a public policy perspective.” Allan Decl. Ex. 2 (Karaganis Report)

 at 11 (emphasis added). These irrelevant personal opinions should be excluded for several

 reasons.

        First, Dr. Karaganis lacks any relevant experience or background to opine on these topics

 and has no involvement in the music industry or entertainment business. Allan Decl. Ex. 1

 Karaganis 8/14/15 Tr. at 37-38. Despite his lack of any specialized knowledge, he opines that

 “by many measures, the health of the music business overall (as distinct from the recording

 business in particular) is pretty good.” Allan Decl. Ex. 2 (Karaganis Report) at 11 (emphasis

 added). Not only does Dr. Karaganis lack expertise in the health of the music industry, but the

 health of the music industry is not relevant to this case. What is relevant is the rampant piracy

 that continues to occur on Cox’s network to the detriment of BMG and Round Hill who own or

 administer the copyrights at issue, and music rights holders as a whole.

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        Second, Dr. Karaganis’ public policy opinions are irrelevant. He states that “the

 relevance of music piracy to the music business is diminishing, not growing.” Allan Decl. Ex. 2

 (Karaganis Report) at 12. But again, whether piracy is diminishing is not relevant. In support of

 this opinion, Dr. Karaganis cites to a Sandvine study “that peer-to-peer use has fallen

 dramatically in the US as a percentage of total Internet traffic.” Allan Decl. Ex. 2 (Karaganis

 Report) at 14. But that study did not show that piracy was decreasing—rather, that the ratio of

 the volume of pirated musical works to overall internet traffic was changing (largely because

 increasingly popular video files are far larger than audio files). See Allan Decl. Ex. 2 (Karaganis

 Report) at 18 (quoting Dr. Lehr’s report). Moreover, whether the volume of piracy has fallen is

 irrelevant to this case. The important fact is that copyright infringement exists, and is

 flourishing, on Cox’s network. And, again Dr. Karaganis lacks any qualifications or specialized

 knowledge to opine of the relevance of music piracy to the music business. Allan Decl. Ex. 1

 Karaganis 8/14/15 Tr. at 37-38.

        Third, Dr. Karaganis impermissibly opines about evidence, due process, and

 proportionality. Allan Decl. Ex. 2 (Karaganis Report) at 19-20; see, e.g., United States v.

 McIver, 470 F.3d 550, 561-62 (4th Cir. 2006) (“[O]pinion testimony that states a legal standard

 or draws a legal conclusion by applying law to the facts is generally inadmissible.”).

 Specifically, as a part of his legal analysis, Dr. Karaganis attempts to provide guidance as to

 what he believes are “key terms” in the safe harbor provision of the Copyright Act, Section

 512(i)(1)(A) of the United States Code. Report at 19-20. Not only is Dr. Karaganis completely

 unqualified to offer such opinions as a non-lawyer (Allan Decl. Ex. 1 Karaganis 8/14/15 Tr. at

 228), but it is a fundamental tenet that expert testimony on the meaning and application of the

 relevant law is inadmissible. See McIver, 470 F.3d at 561-62. It is the Court’s responsibility to



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 instruct the jury as to safe harbor, not a witness hired by defendants. Chicago Title Ins. Co. v.

 IMG Exeter Assocs. Ltd. P'ship, No. 92-1440, 1993 WL 27392, at *4 (4th Cir. Feb. 8, 1993) (“In

 a jury trial, because of the potential usurpation of the court's responsibility to state the meaning

 and applicability of the appropriate law and the jury's task to apply the appropriate law to the

 facts of the case, legal conclusions by an expert witness are inadmissible.”).

        Similarly, Dr. Karaganis purports to provide guidance as to the purpose of copyright law

 in the United States: “from a public policy perspective, the primary concern [of copyright] is not

 to maintain the revenue streams of the recording and publishing sector, but to ensure that there is

 a legal environment conducive to cultural and artistic production.” Allan Decl. Ex. 2 (Karaganis

 Report) at 11. Again, Dr. Karaganis is completely unqualified to offer this opinion. He is

 neither a legal scholar nor a copyright expert. And, he is unfamiliar with the origins of the

 Copyright Act. Allan Decl. Ex. 1 Karaganis 8/14/15 Tr. at 128-130. He has not reviewed any

 legislative history or discussed the Act with anyone from the U.S. Copyright. Allan Decl. Ex. 1

 Karaganis 8/14/15 Tr. at 128-130; see Radiance Found., Inc. v. Nat'l Ass'n for the Advancement

 of Colored People, 27 F. Supp. 3d 671, 677 (E.D. Va. 2013) (restricting expert’s testimony

 because she lacked specialized knowledge about trademark law).

        In seeking to impose his own legal opinion and public policy arguments as to what

 copyright law should accomplish, Dr. Karaganis fails to address a “factual issue of consequence

 to the legal regime underlying a claim or defense.” See In re Commercial Fin. Servs., Inc., 350

 B.R. 559, 567 (Bankr. N.D. Okla. 2005) (emphasis added); Tr. at 128-130. In addition, the lack

 of any support for Dr. Karaganis’ opinion also renders his testimony more prejudicial than

 probative of any relevant fact. See Fed. R. Evid. 702(b); Viterbo v. Dow Chemical Co., 826 F.2d

 420, 422 (5th Cir. 1987) (fundamentally unsupported opinion offers no assistance to the jury, and



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  lack of reliable support rendered it more prejudicial than probative under Rule 403). As such,

  Dr. Karaganis’ opinions on copyright law and policy add nothing of value to the Court's or the

  jury's understanding of the case and should not be allowed.

     C. Dr. Karaganis Is Not Competent to Render an Opinion on Cox’s Incentives to Avoid
        Termination of Infringers Because He Has Not Reviewed Any Case Specific Evidence

         Dr. Karaganis then offers his opinion on Cox’s incentives to avoid the termination of

  repeat infringers in the third section of his report. Allan Decl. Ex. 2 (Karaganis Report) at 15-19.

  Dr. Karaganis takes no issue with Dr. Lehr’s ultimate conclusion and agrees that it is “axiomatic

  that customers (including file sharing customers) are valuable and that terminating would cost

  money” so there is “incentive to keep them.” Allan Decl. Ex. 2 (Karaganis Report) at 16. Yet

  Dr. Karaganis categorizes Dr. Lehr’s characterizations of the motivations of Cox and its

  customers as “peculiar” and opines that peer-to-peer file sharing (and especially music file

  sharing) does not drive adoption of high-speed services. Id.

         But these opinions are not tied to the facts of this case, and Dr. Karaganis admits that he

  did not look at a single Cox document discussing Cox’s policies and procedures for addressing

  notices of infringement related to its subscribers or to read any relevant deposition transcripts of

  Cox employees. Allan Decl. Ex. 1 Karaganis 8/14/15 Tr. at 158-159. Accordingly, Dr.

  Karaganis does not even have the basic knowledge or factual background to opine on Cox’s

  incentives to avoid termination of repeat infringers—he admits that he does not know if, or

  when, Cox terminates subscribers (which overwhelmingly it does not). Tr. at 157-160. And, his

  literary and sociological background does not provide any relevant skill, background or

  experience to address this economic issue.

         Dr. Karaganis next addresses peer-to-peer file sharing and whether this drove the

  adoption of high-speed internet services. He has no experience to address this issue and he

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  offers no explanation or data countering the survey and hard data of Dr. Stephen Nowlis showing

  that a significant percentage of Cox subscribers download illegally free music from BitTorrent

  from sites such as ThePirateBay. Specifically, Dr. Nowlis’s survey shows that 16.1% of Cox

  subscribers download such free music and that 70.4% of those Cox subscribers [or 59.6% when

  adjusted] of the respondents indicated that downloading or uploading free digital music through

  sites such as ThePirateBay is a reason why they subscribe to Cox. Allan Decl. Ex. 4 (Nowlis

  Decl.) at ¶ 2; Ex. 5 (Nowlis Report) at ¶ 7, fn. 2. Dr. Karaganis, who is not a survey expert, can

  only baldly respond that the result “startling and unlikely.” However, Dr. Karaganis’s surprise

  appears to have arisen from his misunderstanding of the survey results. Apparently, he

  understood that the Nowlis survey showed that 70.4% of all Cox subscribers chose Cox because

  of their ability to illegally download music; rather than the Nowlis survey’s actual results that

  showed 70.4% of the 16% of Cox subscribers (11% of all Cox subscribers) who illegally

  downloaded music stated that it was a reason that they subscribe to Cox’s services. Expert

  testimony that offers only a bare conclusion is insufficient to prove the expert’s point. See Mid-

  State Fertilizer Co., 877 F.2d at 1339 (“An expert who supplies nothing but a bottom line

  supplies nothing of value to the judicial process.”).

         Accordingly, Dr. Karaganis’ expert report, opinions and proposed testimony on Cox’s

  incentives to avoid termination of its subscribers should also be excluded.

  III. CONCLUSION

         Dr. Karaganis is unqualified to render opinions on economics, public policy and/or legal

  matters. Fed. R. Evid. 702(a). Moreover, the majority of Dr. Karaganis’ opinions are irrelevant

  to this case and should be excluded. Since his opinions are not tied to the facts of the case and

  fail to rely on sufficient facts or data, they are deficient under Federal Rule of Evidence 702(b).



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         For the foregoing reasons, Plaintiffs request that this Court grant its motion to strike Dr.

  Karaganis’ expert report and preclude his testimony in its entirety.



                                                Respectfully submitted,

                                                /s/ Paul Gennari

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 23, 2015, I electronically filed a true and correct copy of
  the foregoing using the Court’s CM/ECF system, which then sent a notification of such filing
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